      Case 1:20-cv-00840-BKS-CFH Document 99-1 Filed 10/26/20 Page 1 of 1

                 THE GIBSON LAW FIRM, PLLC
                                     SUJATA S. GIBSON, ESQ.
                               407 N. Cayuga Street, Suite 201
                                  Ithaca, New York 14850


                                          October 26, 2020

                                Writer Direct Line: (607) 327-4125

VIA ECF
The Honorable Judge Brenda K. Sannes
United States District Court Judge
Northern District of New York
PO Box 7336
Syracuse, NY 13261-7366

       Re:     Jane Doe et al. vs. Howard Zucker, et al., Case No.: 1:20-CV-0840 (BKS/CFH)

Dear Judge Sannes:

       Plaintiffs hereby submit a notice of dismissal of all claims against the Shenendehowa

School District defendants and withdraw the Koe family as named plaintiffs in this action. I have

attached a revised proposed amended complaint reflecting these changes and respectfully ask that

it replace the one filed last Friday (Dkt 93).

                                                 Respectfully Submitted,

                                                 s/Sujata S. Gibson

                                                 Sujata Gibson
                                                 The Gibson Law Firm, PLLC
                                                 Attorneys for the Plaintiff
                                                 Bar Roll No. 517834
                                                 sujata@gibsonfirm.law

CC:    all counsel of record (via ECF)




TELEPHONE: (607)327-4125              HTTP://WWW.GIBSONFIRM.LAW            EMAIL: SUJATA@GIBSONFIRM.LAW
